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EIGH'I`EENTH .]'UDICIAL CIRCUIT
lN AND POR BREVARD COUNTY,
FLORIDA
CASE NO.:
MICH.AEL D HUIRAS,
Plaintiff,
vs.
WELLS FARGO BANK, N.A.
Defendant.'
l
COMPLAINT

COMES NOW The Plaintiff, Michael D Huiras, by and through the undersigned counsel,
sues the Defendant Credit Protection Associatio, (hereaiter Credit Protection), and alleges:

l. This is an action for damages more than $lS,OO0.00, exclusive of interest, costs and
attomey's fees.

2. At all times material hereto, Defendant, Wells Fargo Bank. N.A. was National Banking
Association, exempted &om compulsory registration with the Florida Secretary of State
under the national banking act. Wells Fargo is headquartered in San Francisco, California
and is one of the 3 largest banks in the United States. Wells Fargo voluntarily registered
with the Florida Secretary of State to designate Corporation Service Company, 1201 Hays Street,
Tallahassee, Florida 32301 as its registered agent for service of process. Wells Fargo conducts
business in Florida.

3. At all times material hereto the plaintiff was a resident of Brevard County, Florida.

4. Wells Fargo serviced the loan on a property located at 509 Royston l_ane, Melbourne, FL
32940 (hereafcer subject property)

5. Wells Fargo acted as a third party debt collector, in servicing the loan. Wells Fargo
collected debts owed or allegedly owed to the owner of the note and mortgage on the subject
property, which was U.S. Bank N.A. as Trustee for Maste.r Asset Backed Securities Trust
2005-WP1.

6. Wells Fargo, as the loan servicer commenced a foreclosure action in this Court against
Huiras, styled U.S. Bank N.A. as Trustee for Master Asset Backed Securities Trust 2005-

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WFl vs. Michael Huiras, et. al., case number 05-2013-CA-31903 (hereafter the foreclosure
action)

Wells Fargo was put on notice the Notice of Appearance filed by I-luiras’ undersigned
counsel in the foreclosure action, and by May 22, 2013 correspondence to Wells Fargo’s
counsel in the foreclosure action that Huiras was represented by counsel with respect to the
subject note and mortgage A true and correct copy of the Notice of Appearance and the
May 22, 2013 correspondence is attached hereto as Exhibit 1.

The May 22, 2013 letter specifically instructed:

Please cease and desist all communication with our client. Please
further advise the lender and servicer that the homeowner is
represented by counsel and that they must cease stop calling our

client and make all communication about the debt in writing
directed to our office

 

Emphasis in original.

COUNT l. VIOLATION OF THE TELEPHONE CONSUMER PROTECI`ION STATUTE

Plaintiff realleges paragraphs One to Four as set forth above.

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9. The Telephone Consurner Protection Act (TCPA) 47 U.S.C 227, provides in pertinent part:

(b) RESTRICI'IONS ON THE USE OF AUTOMATED
TELEPHONE EQUIPMENT.-- (1) PROHIBITIONS.-~It shall be
unlawful for any person within the United States, or any person
outside the United States if the recipient is within the United States-

(A) to make any call (other than a call made for emergency purposes
or made with the prior express consent of the called party) using any
automatic telephone dialing system or an artificial or prerecorded
voice_

.. .(iii) to any telephone number assigned to a paging service, cellular
telephone service, specialized mobile radio service, or other radio
common carrier service, or any service for which the called party is
charged for the call

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10. The Plaintist Cellular/Mobile Phone number at all times material hereto was (321) - 289-
7373.

11. Defendant used an automatic telephone dialing equipment to call the plaintiffs cellular
telephone number on numerous occasions including but not limited to the following
occasions:

12. The Defendant never gave plaintiff permission to call Defendant’s cellular phone or in the
alternative if Wells Fargo ever had permission to call I-luiras’ cellular phone such
permission was revoked by the notice of appearance and May 22, 2013 correspondence
attached as Exhibit 1.

13. When the Plaintiff realized Defendants calls were not the result of an isolated mistake the
Plaintiff instructed the plaintiff to cease all calls to the Defendant’s cell phone and the
Defendant despite Plaintift`s instruction continued to call the Plaintiff.

14. The Plaintiff does not have a complete list of all of the calls made by Wells Fargo and will
seek discovery to determine the total number of calls made by Wells Fargo. Some of the
dates and approximate times Wells Fargo called Huiras were as follows:

July 21, 2014 at
July 22, 2014 at
July 23, 2014 at
July 24, 2014 at
July 24, 2014 at
July 25, 2014 at
July 25, 2014 at
July 25, 2014 at
July 25, 2014 at
July 25, 2014 at
July 28, 2014 at
July 30, 2014 at

2:27 p.m. from telephone number (800) 868-0043
2:27 p.m. from telephone number (800) 868-0043
2:20 p.m. from telephone number (800) 868-0043
1:50 p.m. from telephone number (800) 868-0043
8:15 p.m. from telephone number (800) 868~0043
4:20 p.m. from telephone number (800) 868-0043
4:32 p.m. from telephone number (800) 868-0043
4:33 p.m. from telephone number (800) 868-0043
4.20 p.m. from telephone number (800) 868-0043
7:00 p.m. nom telephone number (800) 868-0043
3:06 p.m. from telephone number (800) 868-0043
9:43 a.m. from telephone number (800) 868-0043

August 04, 2014 at 3:24 p.m. nom telephone number (800) 868-0043
August 04, 2014 at 5:39 p.m. nom telephone number (800) 868-0043
August 08, 2014 at 2:32 p.m. from telephone number (800) 868-0043
August 21, 2014 at 2:02 p.m. nom telephone number (800) 868-0043
August 22, 2014 at 3:10 p.m. ii'om telephone number (800) 868-0043
August 25, 2014 at 3:43 p.m. nom telephone number (800) 868-0043
August 29, 2014 at 4:24 p.m. from telephone number (800) 868-0043
September 2, 2014 at 4:54 p.m. nom telephone number (800) 868-0043

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15. Those calls that were made after Plaintiff instructed Defendant to stop were willful

16. Pursuant to the TCPA the Plaintiff is entitled to recover from the Defendant $500.00 per
call for each call and for any call that was not willful. For such calls that were willful the
Plaintiff respectftu requests such per call sum be trebled pursuant to 47 USC 227(b)(3)(C),
to $1,500.00 per call.

COUNT I - V'IOLATION OF FCCPA
Plaintiff realleges paragraphs One to Eight and paragraph Fourteen as set forth above.

17 . Plaintiff’s financial obligation to pay the mortgage on his home is a consumer debt as
defined by F.S. 559.55(1).

18. The Plaintiff is a “consumer” and “debtor” as defined by 559.55(2)

19. is a “Debt Collector” as defined by 559.55(6) or in the alternative is an “Out-of-state
debt collector” as defined by 559.55(8)

20. Florida Statute 559.72 sets forth in pertinent part:
Prohibited Practices:
--In collecting consumer debts, no person shall:

(7) Willfully communicate with the debtor or any member of her or his
family with such frequency as can reasonably be expected to harass the
debtor or her or his family, or willfully engage in other conduct which

4 can reasonably be expected to abuse or harass the debtor or any member
of her or his family.

(18) Comrnunicate with a debtor if the person knows that the debtor is
represented by an attorney with respect to such debt and has knowledge
of, or can readily ascertain, such attorney's name and address, unless the
debtor's attorney fails to respond within a reasonable period of time to a
communication from the person, unless the debtor's attorney consents to
a direct communication with the debtor, or unless the debtor initiates the
communication;

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21. Wells Fargo made phone calls to the Plaintiff which violated 559.72(18) because Wells
Fargo knew that Huiras had counsel when such calls were made.

22. Pursuant to 559.77 Plaintiff is entitled to his actual damagcs, together with statutory
damages of up to $1,000.00 for the violation

WHEREFORE, the Plaintiff, Michael D Huiras, demands judgment for damages together with
interest, costs and attorney’s fees pursuant to Florida Statutes, §§559.77, the FCCPA, and the to
§57.104 Florida Statutes, and costs pursuant to §92.231, Florida Statutcs and §57-041, Florida
Statutes, and any and all further relief as this Court deems just and proper, and further demands a
trial by jury on all issues.

CERTIFICA'I`E OF SERVICE

 

I HEREBY CERTIFY that a copy of the foregoing has been ii.u'm`shed to Defendant

herein through service of prccess. ,'
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RlCl-lARl):.SI-lUS’l‘ER, ESQUIRE
Fla. Baé»No.: 045713
E-mail: richshuster@gmail.~com
1413 South Patrick Drive, Suite 7
Satellite Beach, Florida 32937
Telephone: 321-622-5040
Fax Number: 321-259-3255
Attorney for Plaintiff

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